
The Supreme Court affirmed the decree of the Court below on April 1st, 1878, in the following opinion:
Per Curiam.
We do not see that the will of Benjamin Bannan is so repugnant to the ante-nuptial marriage settlement with Mrs. Bannan as in its effect to be a rescission, or to enable her to rescind it and claim the estate at law. She stands as a creditor under the marriage contract, which was for a valuable consideration, marriage being such, and consequently she has all the rights of a creditor to secure herself against waste or mismanagement, and to prevent a disposal of it by the executor injurious to her interests as a creditor. Clearly the Orphons’ Court can by a proper order protect her rights against illegal and improper investments, if such be allowed by the will. The rights of creditors are superior to the right of the testator to squander his estate by conferring improper powers on the executor.
Decree affirmed and the costs are directed to be paid out of the estate, and the appeal dismissed.
